                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               WSETERN DIVISION

ACADEMY BANK, N.A.,                              )
                                                 )
                        Plaintiff,               )
                                                 )
v.                                               )               No. 21-00219-CV-W-BP
                                                 )
AMGUARD INSURANCE COMPANY                        )
                                                 )
                  Defendant.                     )
 ___________________________                     )
SHRI GANESAI, LLC,                               )
                                                 )
Plaintiff,                                       )
v.                                               )               No. 21-00355-CV-W-BP
                                                 )
AMGUARD INSURANCE COMPANY,                       )
                                                 )
                 Defendant.                      )


                        AMENDED JUDGMENT IN A CIVIL CASE


 X Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
the jury has rendered its verdict.

___ Decision by Court. This action came to trial or hearing before the Court. The issues
have been tried or heard and a decision has been rendered.

  X Decision by Court. This action came before the Court. The issues have been determined and a
decision has been rendered.

IT IS ORDERED AND ADJUDGED
        Pursuant to the jury’s verdict and accounting for credits for amounts previously paid, judgment is
entered against Amguard and in favor of Shri Ganasai LLC on Shri Ganasai’s claim for breach of contract
with respect to the fire damage in the amount of $684,647.23.

Pursuant to the jury’s verdict, and accounting for the need to preclude multiple recoveries, judgment is
entered against Amguard on Plaintiffs’ claims for breach of contract with respect to freeze damage in the
amount of $314,634.

Pursuant to the jury’s verdict, and accounting for the need to preclude multiple recoveries, judgment is
entered against Amguard on Plaintiffs’ claims for breach of contract with respect to vandalism damage in
the amount of $86,640.

Pursuant to the jury’s verdict, judgment is entered against Amguard and in favor of Academy Bank on
Academy Bank’s claim for vexatious refusal/delay to pay for the fire damage in the amount of
$78,801.63, plus an additional $322,850.50 in attorney fees.


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Pursuant to the Court’s Order on July 26, 2022, judgment is entered against Shri Ganasai and in favor of
Amguard on Shri Ganasai’s claim for vexatious refusal to pay.

Pursuant to the Court's Order on January 25, 2023, judgment is entered for Plaintiff Shri Ganasai LLC for
prejudgment interest on the award for the fire damage claims in the amount of $148,573.22.

Pursuant to the Court's Order on January 25, 2023, both Plaintiffs are jointly awarded $43,264.53 in
prejudgment interest for the freeze and vandalism damage.

Pursuant to the Court's Order on January 25, 2023, Plaintiff Shri Ganasai LLC is awarded an additional
$16,990.69 in prejudgment interest for the freeze and vandalism damage.

Pursuant to the Court's Order on January 25, 2023, Plaintiff Shri Ganasai LLC is awarded $3,472.15 in
costs. Plaintiff Academy Bank, N.A. is awarded $4,181.65 in costs.




January 25, 2023                                         Paige Wymore-Wynn
Date                                                     Clerk of Court

                                                        /s/ Shauna Murphy-Carr
                                                        (by) Deputy Clerk




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